                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                               Case No. 03-CR-194

TERRONCE GARDNER
             Defendant.


                                 DECISION AND ORDER

       On October 4, 2005, I sentenced defendant Terronce Gardner to 84 months

imprisonment following his guilty plea to conspiracy to distribute 500 grams or more of

cocaine. Defendant has now filed a motion to reduce his sentence under 18 U.S.C. §

3582(c)(2) based on the Sentencing Commission’s November 1, 2007 amendment to

U.S.S.G. § 4A1.2. Defendant argues that under this amendment his criminal history score

would be 1 point lower, making his category IV rather than V.

       Eligibility for a reduction under 18 U.S.C. § 3582(c)(2) is triggered only by an

amendment designated for retroactive application by the Commission in U.S.S.G. §

1B1.10(c). U.S.S.G. § 1B1.10 cmt. n.1(A); see also United States v. Perez, 249 F.3d 583,

584 (7th Cir. 2001) (“Amendments apply only to sentences pronounced after the changes

go into force, unless the Commission makes them retroactive.”). Amendment 709 – the

November 1, 2007 revision to the criminal history guidelines – is not listed in § 1B1.10(c).

Accordingly, defendant may not invoke that amendment to obtain a sentence reduction

under 18 U.S.C. § 3582(c)(2).




   Case 2:03-cr-00194-LA        Filed 03/17/08   Page 1 of 2    Document 738
      THEREFORE, IT IS ORDERED that defendant’s motion for reduction of sentence

(R. 729) is DENIED.1

      Dated at Milwaukee, Wisconsin, this 17th day of March, 2008.


                                         /s Lynn Adelman
                                         _______________________________________
                                         LYNN ADELMAN
                                         District Judge




      1
        Even if Amendment 709 applied retroactively, it does not appear that defendant
qualifies for any relief thereunder. Amended § 4A1.2 does not exclude all misdemeanor
convictions from the criminal history score, as defendant seems to believe. Rather, it
excludes only the misdemeanor and petty offenses enumerated in § 4A1.2(c). The offense
defendant seems to refer to in his motion – a cocaine possession conviction for which he
received a sentence of 10 days in jail – would score under the new guideline just as it did
when defendant was sentenced.

                                            2
   Case 2:03-cr-00194-LA      Filed 03/17/08    Page 2 of 2    Document 738
